15000669F - STATE OF FLORIDA vs. DODGE, ALEXANDRIA NICOLE                 Page 1 of 3
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15000669F - STATE OF FLORIDA vs. DODGE, ALEXANDRIA NICOLE

SUMMARY
                          Judge:     MASON, DONALD H                    Court Type:      FELONY                                    Case Type:
                 Case Number:        15000669F                Uniform Case Number:       082015CF0006690001XX                          Status:     CLOSED
               Clerk File Date:      4/15/2015                          Status Date:     2/21/2019                         Waive Speedy Trial:     
               Total Fees Due:       0.00                          Custody Location:     NOT IN CUSTODY                               Agency:      SHERIFF'S OFFICE - CHARLOTTE COUNTY
       Agency Report Number:         1504008199




PARTIES
TYPE           PARTY NAME                                                         ATTORNEY

                                                                                  1 CONCILIO, BRIAN (Main Attorney)
DEFENDANT      DODGE, ALEXANDRIA NICOLE
                                                                                  0
JUDGE          MASON, DONALD H
                                                                                  1 REBHOLZ-RUBIN, CYNTHIA L. (Main Attorney)
PLAINTIFF      STATE OF FLORIDA
                                                                                  0
ATTORNEY       CONCILIO, BRIAN
ATTORNEY       REBHOLZ-RUBIN, CYNTHIA L.



CHARGES
 COUNT      DESCRIPTION                                                                      LEVEL DEGREE   PLEA                  DISPOSITION                         DISPOSITION DATE

   1        COMMIT CRIMINAL MISCHIEF/PROPERTY OVER $200 2755 (806.13 1B2)                    M     F        NOLO-CONTENDERE       ADJUDICATION WITHHELD               11/19/2015
   2        BATTERY CAUSE BODILY HARM 2561 (784.03 1A2)                                      M     F                              NOLLE PROSEQUI                      11/19/2015
   3        BATTERY CAUSE BODILY HARM 2561 (784.03 1A2)                                      M     F        NOLO-CONTENDERE       ADJUDICATION WITHHELD               11/19/2015
   4        RESIST/OBSTRUCT/OPPOSE OFFICER WITH VIOLENCE 3142 (843.01)                       F     T        NOLO-CONTENDERE       ADJUDICATION WITHHELD               11/19/2015
   5        BATTERY ON OFFICER OR FIREFIGHTER, ETC 2573 (784.07 2B)                          F     T                              DROPPED/ABANDONED (NO FILE)         05/19/2015
   6        BATTERY ON OFFICER OR FIREFIGHTER, ETC 2573 (784.07 2B)                          F     T                              DROPPED/ABANDONED (NO FILE)         05/19/2015



EVENTS
DATE                        EVENT                                         JUDGE                   LO CA TI ON                                                   R ESULT

2/21/2019 9:00 AM           CRIMINAL VOP HEARING                          MASON, DONALD H         4TH FLOOR CHARLOTTE COUNTY JUSTICE CENTER                     SENTENCED
12/31/2018 10:30 AM         CRIMINAL VOP ADVISEMENT                       MASON, DONALD H         4TH FLOOR CHARLOTTE COUNTY JUSTICE CENTER                     SET FUTURE DATE
12/12/2018 8:30 AM          CRIMINAL FIRST APPEARANCE                     MASON, DONALD H         4TH FLOOR CHARLOTTE COUNTY JUSTICE CENTER
11/19/2015 1:30 PM          CRIMINAL SENTENCING/PLEA                      MASON, DONALD H         4TH FLOOR CHARLOTTE COUNTY JUSTICE CENTER                     SENTENCED
10/6/2015 1:30 PM           CRIMINAL PRE TRIAL - CONFERENCE               MASON, DONALD H         4TH FLOOR CHARLOTTE COUNTY JUSTICE CENTER                     SET FUTURE DATE
7/29/2015 1:30 PM           CRIMINAL CASE MANAGEMENT                      MASON, DONALD H         4TH FLOOR CHARLOTTE COUNTY JUSTICE CENTER                     SET FUTURE DATE
5/29/2015 2:00 PM           CRIMINAL HEARING                              MASON, DONALD H         4TH FLOOR CHARLOTTE COUNTY JUSTICE CENTER                     MOTION GRANTED
5/18/2015 9:00 AM           CRIMINAL ARRAIGNMENT                          MASON, DONALD H         4TH FLOOR CHARLOTTE COUNTY JUSTICE CENTER                     SET FUTURE DATE
4/15/2015 8:30 AM           CRIMINAL FIRST APPEARANCE                     MASON, DONALD H         FIRST APPEARANCE/VIDEO ROOM 3RD FLOOR                         SET FUTURE DATE



CASE DOCKETS
IMA GE       DA TE           ENTRY

  0     1    3/25/2019       PAYMENT $150.00 RECEIPT #2019023390
             2/26/2019       PUBLIC DEF ATTY>$50 FELONY ASSESSED $50.00 DUE ON 9/19/2018
             2/26/2019       ST ATTY PROS FEE-FELONY ASSESSED $50.00 DUE ON 9/19/2018
             2/26/2019       PROSECUTOR: REBHOLZ-RUBIN, CYNTHIA L. ASSIGNED
             2/21/2019       REOPENED CASE CLOSED
             2/21/2019       CASE# 15000669F - SENTENCED: 2/26/2019 IMPOSED: 2/21/2019 EFFECTIVE DATE: 2/21/2019
                             CASE #15000669F - - SENTENCE NOTES: • • COMMUNITY SERVICE TO START 90 DAYS AFTER BIRTH OF CHILDREN • CAN TRAVEL FROM 12/3 – 12/9 AFTER PROVIDING P/O WITH
             2/21/2019       ITINERARY MODIFICATION 2/21/19 PERMITTED TO TRANSFER BACK TO MI MAY B/O REMAINING CSH OR CAN WORK THEM PROBATION WILL AUTO TERMINATE UPON
                             COMPLETION OF ALL PRIOR TERMS DISMISS ANY/ALL PENDING WARRANTS IN THIS CASE
  0     1    2/21/2019       FINGERPRINTS OF DEFENDANT

  0     3    2/21/2019       SENTENCING GUIDELINES SCORESHEET

  0     4    2/21/2019       VIOLATION PLEA FORM

  0     1    2/21/2019       COURT ORDER/NOTICE/MINUTE // PLEA ENTERED

  0     1    2/21/2019       SENTENCE FORM - MODIFICATION

  0     2    1/4/2019        ANSWER TO DEMAND FOR DISCOVERY
             12/31/2018      CRIMINAL VOP HEARING SET FOR 02/21/2019 AT 9:00 AM IN 4TH/ , JDG: MASON, DONALD H

  0     1    12/31/2018      COURT ORDER/NOTICE/MINUTE - VOP HRG 2/21 9:00
             12/14/2018      DEFENSE ATTORNEY: CONCILIO, BRIAN ASSIGNED

  0     1    12/14/2018      NOTICE OF APPEARANCE/WVR OF ARRGN/WRTTN PLEA/DMD DISC




                                                                                          001                                                           EXHIBIT 3
https://courts.charlotteclerk.com/Benchmark/CourtCase.aspx/DetailsPrint/883062?digest=j... 3/19/2021
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IMA GE    DA TE        ENTRY

          12/13/2018   DEFENSE ATTORNEY: PUBLIC DEFENDER ASSIGNED
          12/13/2018   PUBLIC DEF APP FEE FELONY $50 ASSESSED $50.00 DUE ON 9/19/2018

  0   2   12/13/2018   AFFIDAVIT INDIGENCE GRANTED/ACCEPTED

  0   1   12/12/2018   RECORD OF FIRST APPEARANCE HEARING
          12/11/2018   CRIMINAL VOP ADVISEMENT SET FOR 12/31/2018 AT 10:30 AM IN 4TH/ , JDG: MASON, DONALD H
          12/11/2018   REARRESTED ON 12/11/2018: OBTS # 0803137550
          12/11/2018   CRIMINAL FIRST APPEARANCE SET FOR 12/12/2018 AT 8:30 AM IN 4TH/ , JDG: MASON, DONALD H
          12/11/2018   CASE UNSECURED
          12/11/2018   HABITUAL FELONY OFFENDER STATUS
          12/11/2018   JESSICA LUNSFORD CERTIFICATE

  0   3   12/11/2018   VIOLATION OF PROBATION WARRANT SERVED

  0   3   12/11/2018   BOOKING REPORT FILED

  0   3   12/11/2018   AFFIDAVIT OF PROBABLE CAUSE
          11/1/2018    VOP WARRANT STATUS CHANGED TO SERVED
          11/1/2018    VOP WARRANT STATUS CHANGED TO SENT TO SHERIFF

  0   3   10/29/2018   VIOLATION OF PROBATION WARRANT ISSUED

  0   1   10/29/2018   AFFIDAVIT OF VIOLATION OF PROBATION

  0   3   10/29/2018   VIOLATION REPORT

  0   1   3/6/2017     PAYMENT $25.15 RECEIPT #2017020503

  0   1   3/6/2017     PAYMENT $140.71 RECEIPT #2017020441

  0   1   3/6/2017     PAYMENT $398.25 RECEIPT #2017020440

  0   1   11/21/2016   PAYMENT $26.04 RECEIPT #2017006752

  0   1   11/21/2016   PAYMENT $326.85 RECEIPT #2017006744

  0   3   1/25/2016    ORDER W/HOLDING ADJ OF GUILT & PLACING DEF ON PROB

  0   3   12/8/2015    ORDER W/HOLDING ADJ OF GUILT & PLACING DEF ON PROB

  0   4   12/7/2015    JUDGMENT AND SENTENCE FILED
          11/23/2015   CASE CLOSED

  0   1   11/23/2015   BOND DISCHARGE SLIP
          11/23/2015   ST ATTY PROS FEE-FELONY ASSESSED $100.00 DUE ON 9/19/2018
          11/23/2015   FELONY COURT COSTS ONLY ASSESSED $415.00 DUE ON 9/19/2018
          11/23/2015   COMPLIANCE CREATED : WAITING FOR PAYMENT REQUIRED BY: 09/19/2018
          11/23/2015   PUBLIC DEF APP FEE FELONY $50 ASSESSED $50.00 DUE ON 10/19/2016
          11/23/2015   DOMESTIC VIO TR FD-MISDEMEANO ASSESSED $201.00 DUE ON 10/19/2016
          11/23/2015   RAPE CRISIS TRUST FUND ASSESSED $151.00 DUE ON 10/19/2016
          11/19/2015   SURETY BOND 2015AA009608 (843.01) RELEASED
          11/19/2015   SURETY BOND 2015BB003311 (784.03 1A2) RELEASED
          11/19/2015   SURETY BOND 2015BB001980 (784.03 1A2) RELEASED
          11/19/2015   SURETY BOND 2015AA009606 (806.13 1B2) RELEASED
          11/19/2015   CASE# 15000669F - SENTENCED: 11/23/2015 IMPOSED: 11/19/2015 EFFECTIVE DATE: 11/19/2015
          11/19/2015   CASE# 15000669F - SENTENCED: 11/23/2015 IMPOSED: 11/19/2015 EFFECTIVE DATE: 11/19/2015
                       CASE #15000669F - DEFENDANT SENTENCED AS TO CHARGE: 003 CHRG 003 CONCURRENT W/ CHARGE 4 PROBATION - REPORTING () - FOR 1 YEARS - CHRG 003 - SENTENCE
          11/19/2015
                       NOTES:
          11/19/2015   CASE# 15000669F - SENTENCED: 11/23/2015 IMPOSED: 11/19/2015 EFFECTIVE DATE: 11/19/2015
                       CASE #15000669F - DEFENDANT SENTENCED AS TO CHARGE: 001 CHRG 001 CONCURRENT W/ CHARGE 4 PROBATION - REPORTING () - FOR 1 YEARS - CHRG 001 - SENTENCE
          11/19/2015
                       NOTES: ORDERED AND RESERVED ON RESTITUTION
          11/19/2015   ADJUDICATION WITHHELD FOR COUNT: 4
          11/19/2015   DEFENDANT ENTERED PLEA OF NOLO-CONTENDERE SEQ 4
          11/19/2015   ADJUDICATION WITHHELD FOR COUNT: 3
          11/19/2015   DEFENDANT ENTERED PLEA OF NOLO-CONTENDERE SEQ 3
          11/19/2015   ADJUDICATION WITHHELD FOR COUNT: 1
          11/19/2015   DEFENDANT ENTERED PLEA OF NOLO-CONTENDERE SEQ 1
          11/19/2015   NOLLE PROSEQUI SEQ: 2 AMENDED - (784.03 1A2) BATTERY CAUSE BODILY HARM 2561

  0   1   11/19/2015   FINGERPRINTS OF DEFENDANT

  0   3   11/19/2015   SENTENCING GUIDELINES SCORESHEET

  0   5   11/19/2015   PLEA OF NO CONTEST/NOLO CONTENDERE

  0   1   11/19/2015   COURT ORDER/NOTICE/MINUTE

  0   4   11/19/2015   SENTENCE FORM - ADJ. WITHHELD CT. 1, 3, & 4 / N/P CT. 2

  0   1   10/8/2015    NOTICE OF COURT DATE
          10/8/2015    CRIMINAL SENTENCING/PLEA SET FOR 11/19/2015 AT 1:30 PM IN 4TH/ , JDG: MASON, DONALD H

  0   1   10/6/2015    PRETRIAL CONFERENCE ORDER - P/S 11/19 @ 1:30

  0   1   8/4/2015     NOTICE OF COURT DATE
          8/4/2015     CRIMINAL PRE TRIAL - CONFERENCE SET FOR 10/06/2015 AT 1:30 PM IN 4TH/ , JDG: MASON, DONALD H

  0   3   8/4/2015     ANSWER TO DEMAND FOR DISCOVERY

  0   1   7/29/2015    CASE MANAGEMENT CONFERENCE ORDER

  0   2   6/10/2015    ANSWER TO DEMAND FOR DISCOVERY (AMENDED)




                                                                                   002                                                       EXHIBIT 3
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IMA GE    DA TE       ENTRY

  0   1   5/29/2015   ORDER GRANTING MOTION - ALLOW NON VIOLENT CONTACT

  0   1   5/29/2015   COURT ORDER/NOTICE/MINUTE - MOTION GRANTED - NO VIOLENT CONTACT WITH JACOB BIRD

  0   1   5/22/2015   NOTICE OF COURT DATE AMENDED - MAIL
          5/22/2015   DEFENSE ATTORNEY: RINARD, MARQUIN ASSIGNED

  0   3   5/20/2015   STIPULATION FOR SUBSTITUTION OF COUNSEL AND ORDER - MARQUIN RINARD SUBSTITUTED

  0   1   5/20/2015   NOTICE OF COURT DATE
          5/20/2015   CRIMINAL CASE MANAGEMENT SET FOR 07/29/2015 AT 1:30 PM IN 4TH/ , JDG: MASON, DONALD H
          5/19/2015   SURETY BOND 2015AA009605 (784.07 2B) RELEASED
          5/19/2015   SURETY BOND 2015AA009604 (784.07 2B) RELEASED
          5/19/2015   FILED SEQ: 6 SAME - (843.01) RESIST/OBSTRUCT/OPPOSE OFFICER WITH VIOLENCE 3142
          5/19/2015   FILED SEQ: 5 AMENDED - (784.03 1A2) BATTERY CAUSE BODILY HARM 2561
          5/19/2015   FILED SEQ: 3 SAME - (806.13 1B2) COMMIT CRIMINAL MISCHIEF/PROPERTY OVER $200 2755
          5/19/2015   DROPPED/ABANDONED (NO FILE) SEQ: 2 SAME - (784.07 2B) BATTERY ON OFFICER OR FIREFIGHTER, ETC 2573
          5/19/2015   DROPPED/ABANDONED (NO FILE) SEQ: 1 SAME - (784.07 2B) BATTERY ON OFFICER OR FIREFIGHTER, ETC 2573
          5/19/2015   PROSECUTOR: KUYKENDALL, JILLIAN M. ASSIGNED

  0   4   5/19/2015   INFORMATION AND NOTICE TO CLERK - EXPEDITED
          5/19/2015   CRIMINAL HEARING SET FOR 05/29/2015 AT 2:00 PM IN 4TH/ , JDG: MASON, DONALD H

  0   1   5/19/2015   NOTICE OF HEARING

  0   1   5/18/2015   ORDER SETTING CASE MANAGEMENT CONFERENCE 7/29 @ 1:30PM

  0   1   5/18/2015   COURT ORDER/NOTICE/MINUTE CMC 7/29 @ 1:30PM

  0   1   5/15/2015   MOTION TO LIFT/MODIFY NO CONTACT ORDER

  0   1   5/1/2015    DEMAND FOR COPY OF INFORMATION

  0   2   5/1/2015    NOTICE OF APPEARANCE/WVR OF ARRGN/WRTTN PLEA/DMD DISC

  0   1   4/20/2015   NOTICE OF COURT DATE
          4/20/2015   SURETY BOND 2015AA009608 POSTED $5,000.00
          4/20/2015   SURETY BOND 2015BB003311 POSTED $10,000.00
          4/20/2015   SURETY BOND 2015BB001980 POSTED $10,000.00
          4/20/2015   SURETY BOND 2015AA009606 POSTED $2,500.00
          4/20/2015   SURETY BOND 2015AA009605 POSTED $5,000.00
          4/20/2015   SURETY BOND 2015AA009604 POSTED $5,000.00
          4/20/2015   DEFENSE ATTORNEY: DOWNYOK, PETAJA JIT ASSIGNED

  0   1   4/20/2015   NOTICE OF APPEARANCE/WVR OF ARRGN/WRTTN PLEA/DMD DISC

  0   2   4/18/2015   SURETY APPEARANCE BOND

  0   2   4/18/2015   SURETY APPEARANCE BOND

  0   2   4/18/2015   SURETY APPEARANCE BOND

  0   2   4/18/2015   SURETY APPEARANCE BOND

  0   2   4/18/2015   SURETY APPEARANCE BOND

  0   2   4/18/2015   SURETY APPEARANCE BOND

  0   3   4/18/2015   BOOKING REPORT RELEASE
          4/15/2015   PUBLIC DEF APP FEE FELONY $50 ASSESSED $50.00 DUE ON 4/22/2015
          4/15/2015   DEFENSE ATTORNEY: DEFENDER, PUBLIC ASSIGNED

  0   1   4/15/2015   ORDER OF NO CONTACT

  0   2   4/15/2015   AFFIDAVIT INDIGENCE GRANTED/ACCEPTED
          4/15/2015   CRIMINAL ARRAIGNMENT SET FOR 05/18/2015 AT 9:00 AM IN 4TH/ , JDG: MASON, DONALD H
          4/15/2015   JUDGE MASON, DONALD H: ASSIGNED
          4/15/2015   CRIMINAL FIRST APPEARANCE SET FOR 04/15/2015 AT 8:30 AM IN 1ST/ , JDG: MASON, DONALD H

  0   1   4/15/2015   RECORD OF FIRST APPEARANCE HEARING - PD APPT - NO CONTACT W/VICTIMS - NO ALCOHOL - BONDS $5,000 CTS 1, 2 & 6, $2500 CT 3, $10,000 CTS 4 & 5 - ARR 5/18 @ 9

  0   3   4/15/2015   BOOKING REPORT FILED

  0   3   4/15/2015   AFFIDAVIT OF PROBABLE CAUSE
          4/15/2015   JESSICA LUNSFORD CERTIFICATE
          4/15/2015   CASE FILED 04/15/2015 CASE NUMBER 15000669F




                                                                                  003                                                            EXHIBIT 3
https://courts.charlotteclerk.com/Benchmark/CourtCase.aspx/DetailsPrint/883062?digest=j... 3/19/2021
